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 6    (Additional counsel information omitted)
 7
                          UNITED STATES DISTRICT COURT
 8
                         CENTRAL DISTRICT OF CALIFORNIA
 9
                                  SANTA ANA DIVISION
10
11    ENTROPIC COMMUNICATIONS, LLC, CASE NO. 2:23-CV-01048-JWH-KES
                                    CASE NO. 2:23-CV-01050-JWH-KES
12                Plaintiff,
                                    Assigned to Hon. John W. Holcomb
13         v.
                                    DECLARATION OF KRISHNAN
14    COMCAST CORPORATION;          PADMANABHAN IN SUPPORT OF
      COMCAST CABLE                 COMCAST DEFENDANTS’
15    COMMUNICATIONS, LLC; AND      MOTION TO DISMISS UNDER
      COMCAST CABLE                 FED. R. CIV. P. 12(B)(1)
16    COMMUNICATIONS MANAGEMENT,
      LLC,                          Date: June 30, 2023
17                                  Time: 9:00 a.m.
                  Defendants.       Courtroom: 9D
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        DECLARATION OF KRISHNAN PADMANABHAN ISO DEFENDANTS’ MOTION TO DISMISS
                              UNDER FED. R. CIV. P. 12(B)(1)
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 1           I, Krishnan Padmanabhan, hereby declare as follows:
 2           1.     I am an attorney at law duly licensed to practice in the State of California.
 3   I am an attorney with Winston & Strawn LLP and counsel for defendants Comcast
 4   Corporation,     Comcast     Cable    Communications,      LLC,    and    Comcast    Cable
 5   Communications Management, LLC (collectively, “Comcast Defendants” or
 6   “Comcast”). I submit this Declaration in support of the Comcast Defendants’ Motion to
 7   Dismiss under Rule 12(b)(1). I have knowledge of the following and, if called as a
 8   witness, could and would testify competently to the contents of this declaration.
 9           2.     Attached as Exhibit A is a true and correct copy of the Comcast-
10   MaxLinear Vendor Service Agreement and Statement of Work, executed on August 1,
11   2020.
12           3.     Attached as Exhibit B is a true and correct copy of the MaxLinear
13   Communications LLC D&B family tree.
14           4.     Attached as Exhibit C is a true and correct copy of the February 2018
15   assignment to MaxLinear Communications LLC.
16           5.     Attached as Exhibit D is a true and correct copy of the September 2012
17   assignment to MaxLinear, Inc. of U.S. Patent App. No. 13/607,916.
18           6.     Attached as Exhibit E is a true and correct copy of the September 2012
19   assignment to MaxLinear, Inc. of U.S. Patent App. No. 14/948,947.
20           7.     Attached as Exhibit F is a true and correct copy of the July-August 2013
21   assignment to MaxLinear, Inc.
22           8.     Attached as Exhibit G is a true and correct copy of the June 2010
23   assignment to MaxLinear, Inc.
24           9.     Attached as Exhibit H is a true and correct copy of the February 2015
25   Agreement and Plan of Merger and Reorganization.
26           10.    Attached as Exhibit I is a true and correct copy of the April 2015
27   assignment to Legacy Entropic.
28           11.    Attached as Exhibit J is a true and correct copy of a March 2021
                                                   1
              DECLARATION OF KRISHNAN PADMANABHAN ISO COMCAST DEFENDANTS’
                        MOTION TO DISMISS UNDER FED. R. CIV. P. 12(B)(1)
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 1   assignment to New Entropic by MaxLinear, Inc..
 2           12.   Attached as Exhibit K is a true and correct copy of a March 2021
 3   assignment to New Entropic by MaxLinear Communications LLC.
 4           13.   Attached as Exhibit L is a true and correct copy of New Entropic’s
 5   Delaware Secretary of State registration.
 6           14.   Attached as Exhibit M is a true and correct copy of New Entropic’s Texas
 7   Secretary of State registration.
 8           15.   Attached as Exhibit N is a true and correct copy of LinkedIn Fortress
 9   Profiles.
10           16.   Attached as Exhibit O is a true and correct copy of the Fortress Address.
11           17.   Attached as Exhibit P is a true and correct copy of an organization chart
12   of Comcast entities.
13           18.   Attached as Exhibit Q is a true and correct copy of a Comcast 2020 Form
14   10-K.
15
16           I declare under penalty of perjury under the laws of the United States that the
17   foregoing is true and correct.
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19           Executed on this 22th day of May, 2023 in New York, NY.
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21   Dated: May 22, 2023                    WINSTON & STRAWN LLP
22                                          By: /s/ Krishnan Padmanabhan
                                                Krishnan Padmanabhan
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              DECLARATION OF KRISHNAN PADMANABHAN ISO COMCAST DEFENDANTS’
                        MOTION TO DISMISS UNDER FED. R. CIV. P. 12(B)(1)
